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  12    Attorneys for Defendants
  13    UNICLASS TECHNOLOGY CO. LTD., ET AL
  14
                          UNITED STATES DISTRICT COURT
  15
                        CENTRAL DISTRICT OF CALIFORNIA
  16
  17    ATEN TECHNOLOGY, CO. LTD.            No. 2:15-cv-04424-AJG-AJW

  18                        Plaintiff,
  19
            vs.                              DEFENDANTS’ SUBMISSION OF
  20                                         PROPOSED SPECIAL VOIR DIRE
  21    UNICLASS TECHNOLOGY CO.,             QUESTIONS
        LTD., et al.
  22
                     Defendants.
  23                                         Trial Start Date: September 19, 2017
                                             Courtroom: 10D
  24                                         Judge: Hon. Andrew Guilford
  25
  26
  27
  28
        _________________________________________________________________
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    1         Defendants Uniclass Technology Co. Ltd., et. Al. (“Defendants”) propose
    2   the following special voir dire questions to select a jury for the trial scheduled to
    3
        commence on September 19, 2017, in addition to the questions identified in the
    4
    5   Court’s Civil Jury Selection Procedures (Dkt. 398, Exhibit 2 and 3):
    6
    7      1. You have been given a list of the attorneys and law firms involved in this
    8         litigation. Are you related to, or personally acquainted with, any of those
              attorneys, or have you ever been represented by any of those attorneys or
    9
              other associates or members of the listed law firms?
  10
  11       2. You have been given a list of the individuals who might appear as
              witnesses in this case. Are you related to, or personally acquainted with,
  12
              any of those individuals?
  13
  14       3. Have you, or any close family member or friend, ever been involved in the
              computer hardware or software industry? If yes, please describe that
  15
              experience. Would it make it so you would favor or oppose one of these
  16          companies?
  17
           4. Do you have any education or training in computer programing or
  18
              electrical engineering beyond highschool?
  19
  20       5. Do you have personal experience with patents? Please describe your
              experience. Is there anything about that experience that might cause you to
  21
              favor one side or the other? Please tell me about that.
  22
  23       6. Have you, or any close family member or friend, ever applied for a patent?

  24       7. Are you, or any close family member or friend, the named inventor on a
  25          patent?
  26       8. Have you, or any close family member or friend, ever registered for a
  27          copyright or trademark?
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    1     9. Have you, or any close family member or friend, ever worked for any
             government body or organization involved with patents or trademarks? If
    2
             so, do you feel that might affect your view of this case?
    3
    4     10. Have you, or any close family member or friend, ever worked as a patent
              attorney or agent?
    5
    6     11. Have you ever read or heard about patent lawsuits? Please describe what
    7         you have read or heard.

    8     12. Have you, or any close family member or friend, been involved with any
    9         organization involved with tort reform or litigation reform? Please
              describe.
  10
  11      13. Do you have any strong opinions about a patent granting exclusive rights
  12          to the inventors or their employer?
  13      14. Do you believe it would be wrong for someone to exclude others from
  14          using his own invention?
  15
          15. Do you, or any close family member or friend, have experience licensing
  16          trademarks, copyrights, or patents? Please describe.
  17
          16. Even if an inventor has received a patent, it may be still be invalid because
  18          of information either unknown or misperceived by the U.S. Patent and
  19          Trademark Office. If the evidence supports it, would you have any
  20          hesitation invalidating a patent?
  21      17. Have you ever had a reason to file a lawsuit, but chose not to? If so, why?
  22
          18. Have you ever served as a juror before?
  23
  24            a. If so, were you the foreperson during those jury deliberations?
  25      19. What role do patents play in our society?
  26
          20. What role do lawsuits play in our society?
  27
  28      21. Has someone ever wrongfully taken your idea for their own benefit?


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    1     22. Have you ever been accused of wrongfully taking someone else’s idea for
              your own benefit?
    2
    3     23. Have you heard of open source software?
    4           a. If so, what are your feelings on open source software and its place in
    5              our society?
    6
             Dated: September 12, 2017       Respectfully submitted,
    7
    8
    9                                        /s/ Joseph G. Pia
  10                                         Robert E. Aycock
  11                                         Joseph G. Pia
                                             Jen-Feng “Jeff” Lee
  12
                                             Attorney for Defendants
  13                                         UNICLASS TECHNOLOGY CO., LTD.,
  14                                         ELECTRONIC TECHNOLOGY CO.,
  15                                         LTD. OF DONGGUAN UNICLASS,
                                             AIRLINK 101, PHOEBE MICRO INC.,
  16
                                             BROADTECH INTERNATIONAL CO.,
  17                                         LTD. D/B/A/ LINKSKEY, BLACK BOX
  18                                         CORPORATION, and BLACK BOX
  19                                         CORPORATION OF PENNSYLVANIA
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    1                          CERTIFICATE OF SERVICE
    2         The undersigned hereby certifies that a true and correct copy of the above
    3   and foregoing document has been served on September 12, 2017 to all counsel of
    4   record who are deemed to have consented to electronic service via the Court’s
    5   CM/ECF system per Local Rule CV-5(a)(3).
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    7
    8                                         /s/ Joseph G. Pia

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